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DOCKET No. 19CR552 (GHW) DEFENDANT EDWARD SHIN
AUSA Daniel Tracer DEF.’S COUNSEL Paul Boyton Brickfield
Vl rerainsp [] FEDERAL DEFENDERS LC] cya LC] pRESENTMENT ONLY
| INTERPRETER NEEDED
OC] DEFENDANT WAIVES PRETRIAL REPORT

ORuleS ORule9 GO Rule 5(c)(3) CO Detention Hrg. =DATE OF ARREST L] VOL. SURR.

TIME OF ARREST (J ON WRIT
O Other: TIME OF PRESENTMENT 1|1;30 AM

BAIL DESPOSITION

(1 SEE SEP, ORDER
C1) DETENTION ON CONSENT W/O PREJUDICE C] DETENTION: RISK OF FLIGHT/DANGER [SEE TRANSCRIPT
C1 DETENTION HEARING SCHEDULED FOR:
C1 AGREED CONDITIONS OF RELEASE
(1 DEF. RELEASED ON OWN RECOGNIZANCE
Oe PRB []_____—FRP
C SECURED BY $ CASH/PROPERTY:
CITRAVEL RESTRICTED TO SDNY/EDNY/
CO TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
C] SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

 

 

CIPRETRIAL SUPERVISION: LJREGULAR CsfrRicr [AS DIRECTED BY PRETRIAL SERVICES
CJ DRUG TESTING/TREATMT AS DIRECTED BY PTS [J MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
CO) DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

COHOME INCARCERATION [DIJHOMEDETENTION TCICURFEW MELECTRONIC MONITORING [IGPS
CIDEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

O DEF, TO CONTINUE OR SEEK EMPLOYMENT [OR] [J DEF. TO CONTINUE OR START EDUCATION PROGRAM
C) DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

C) DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
L DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:
; REMAINING CONDITIONS TO BE MET BY:

 

 

 

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

DEF. ARRAIGNED; PLEADS NOT GUILTY [7] CONFERENCE BEFORE D.J. ON 8/14/2019
C1 DEF, WATVES INDICTMENT
i] SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)\(7) UNTIL 8/14/2019

For Rule 5(c\(3) Cases:
C] IDENTITY HEARING WAIVED C) DEFENDANT TO BE REMOVED

C1 PRELIMINARY HEARING IN SDNY WAIVED CL] CONTROL DATE FOR REMOVAL:

 

PRELIMINARY HEARING DATE: CO ON DEFENDANT’S CONSENT A

DATE: 8/2/2019 _.

 

WHITE (origina?) - COURT FILE PINK — U.S. ATTORNEY’S OFFICE YELLOW - U.S. MARSHAL GREEN — PRETRIAL SERVICES AGENCY
Rev'd 2056

 

 
